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 Geta Miclaus and Vim and Kevin Byrne, on
 behalf of themselves and all other persons
 similarly situated,
                                                    No. 2:20-cv-681
                        Plaintiffs,
         v.

 Invention Submission Corporation d/b/a
 InventHelp, Technosystems Consolidated
 Corp., Technosystems Service Corp.,
 Western Invention Submission Corp. d/b/a
 Western InventHelp, Universal Payment
 Corporation, Intromark Incorporated, Robert
 J. Susa, Thomas Frost, P.A., Thomas Frost,
 John Doe Companies 1-10, John Doe
 Individuals 1-10,

                         Defendants.

              ORDER GRANTING PRELIMINARY APPROVAL OF
          CLASS ACTION SETTLEMENT, PROVISIONALLY CERTIFYING
        SETTLEMENT CLASS, DIRECTING NOTICE TO THE SETTLEMENT
            CLASS, AND SCHEDULING FINAL APPROVAL HEARING

       WHEREAS, Plaintiffs and proposed Class Representatives Cynthia Gray, Vim and Kevin

Byrne, Geta Miclaus, Carla Austin, and Nil Leone ("Plaintiffs"); Defendants Invention Submission

Corporation d/b/a InventHelp, Western Invention Submission Corporation d/b/a Western

InventHelp, Technosystems Service Corporation, Technosystems Consolidated Corporation,

Universal Payment Corporation, Intromark Incorporated, and Robert Susa (the "InventHelp

Defendants"); and Defendants Thomas Frost, P.A. and Thomas Frost (the "Frost Defendants") (the

InventHelp Defendants and Frost Defendants are together referenced herein as the "Defendants")

have entered into a Settlement Agreement which, together with the Exhibits annexed thereto

("Settlement" or "Settlement Agreement"), sets forth the terms and conditions for a proposed class


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